                    UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF TENNESSEE
                         NASHVILLE DIVISION

BRIAN D. WILCOX, et al.,       )
                               )
     Plaintiffs,               )
                               )
               v.              )           NO. 3:09-1039
                               )           Judge Nixon/Bryant
THE TRAVELERS INDEMNITY COMPANY)           Jury Demand
OF AMERICA,                    )
                               )
     Defendant.                )
                                O R D E R

           The parties have filed an Agreed Order Of Dismissal With

Prejudice (Docket Entry No. 12) of this case.               There is nothing

further to be done by the undersigned in this matter.           The Clerk is

directed   to   return   the   file   to   the   District    Judge   for    his

consideration of the order of dismissal.

           It is so ORDERED.

                                           s/ John S. Bryant
                                           JOHN S. BRYANT
                                           United States Magistrate Judge




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